         Case 1:20-cv-03377-DLF Document 53 Filed 05/05/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ALABAMA ASSOCIATION OF
 REALTORS, et al.,

               Plaintiffs,

        v.                                              No. 20-cv-3377 (DLF)

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

               Defendants.


                                          ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that the defendants’ Motion for Summary Judgment, Dkt. 26, and Partial

Motion to Dismiss, Dkt. 32, are DENIED. It is further

       ORDERED that the plaintiffs’ Motion for Expedited Summary Judgment, Dkt. 6, is

GRANTED. It is further

       ORDERED that the nationwide eviction moratorium issued by the Centers for Disease

Control and Prevention, and currently in effect at 86 Fed. Reg. 16,731, is VACATED.




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                                                          DABNEY L. FRIEDRICH
May 5, 2021                                               United States District Judge
